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         Exhibit K
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                                                              Exhibit K - U.S. Patent No. 11,328,286

 Claim No.                         Apple Pay and/or Apple Wallet-Enabled Computing Device with Apple Card
 20[pre]:A payment system          The combination of an Apple Pay and/or Apple Wallet-enabled computing device with an Apple Card is a payment system.
 comprising:




                                   See, e.g., Apple Card, Apple, https://www.apple.com/apple-card/; Apple Pay, Apple, https://www.apple.com/apple-pay/.
 20[a]: a payment card device,     The Apple Card is a payment card device, free of any depictions of fixed payment numbers thereon, and operable for use in
 free of any depictions of fixed   payment card reader equipment.
 payment numbers thereon,
 and operable for use in
 payment card reader
 equipment; and




                                   See, e.g., Apple Card, Apple, https://www.apple.com/apple-card/ (“The titanium card has no visible numbers. Not on the front.
                                   Not on the back. Which gives you an enhanced level of security.”).
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 Claim No.                    Apple Pay and/or Apple Wallet-Enabled Computing Device with Apple Card
 20[b]: a computing device    An Apple Pay and/or Apple Wallet-enabled computing device is a computing device.
 comprising:




                              See, e.g., Apple Pay, Apple, https://www.apple.com/apple-pay/; Abby Ferguson, How to set up Apple Pay, Popular Sci. (May
                              12, 2024 3:04 PM EDT), https://www.popsci.com/diy/how-to-set-up-apple-pay/ (“[The Wallet app] is pre-installed on Apple
                              devices, so you won’t need to install it first.”).
 20[c]: a processor;          An Apple Pay and/or Apple Wallet-enabled computing device includes a processor.




                                                                                                                       [. . .]



                              See, e.g., iPad, Apple, https://www.apple.com/ipad/.
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                                                                                                                         [. . .]



                              See, e.g., iPhone, Apple, https://www.apple.com/iphone/.




                                                                                                                         [. . .]



                              See, e.g., Watch, Apple, https://www.apple.com/watch/.
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 Claim No.                    Apple Pay and/or Apple Wallet-Enabled Computing Device with Apple Card




                              See, e.g., Apple Platform Security, How Apple Pay keeps users’ purchases protected, Apple (Feb. 18, 2021),
                              https://support.apple.com/guide/security/how-apple-pay-keeps-users-purchases-protected-seccb53a35f0/web.
 20[d]: a memory;             An Apple Pay and/or Apple Wallet-enabled computing device includes a memory.




                              See, e.g., What's the difference between device storage and iCloud storage?, Apple (Sept. 16, 2024), https://support.apple.com/
                              en-us/102670; If your Apple Watch storage is full, Apple (Sept. 16, 2024), https://support.apple.com/en-us/102407.




                              See, e.g., Apple Platform Security, How Apple Pay keeps users’ purchases protected, Apple (Feb. 18, 2021),
                              https://support.apple.com/guide/security/how-apple-pay-keeps-users-purchases-protected-seccb53a35f0/web.
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 Claim No.                      Apple Pay and/or Apple Wallet-Enabled Computing Device with Apple Card
 20[e]: a wireless interface;   An Apple Pay and/or Apple Wallet-enabled computing device includes a wireless interface.




                                See, e.g., Connect to Wi-Fi on your iPhone, iPad, or iPod touch, Apple (May 20, 2024), https://support.apple.com/en-us/
                                111107.




                                See, e.g., Use cellular data on your iPhone or iPad, Apple (Sept. 16, 2024), https://support.apple.com/en-us/109323.




                                See, e.g., Connect your Apple Watch to Wi-Fi, Apple (Apr. 26, 2024), https://support.apple.com/en-us/111818.
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 Claim No.                       Apple Pay and/or Apple Wallet-Enabled Computing Device with Apple Card




                                 See, e.g., Set up cellular on Apple Watch, Apple (Jul. 10, 2024), https://support.apple.com/en-us/119601.
 20[f]: a touch-screen user      An Apple Pay- and/or Apple Wallet-enabled computing device includes a touch-screen user interface operable to provide a
 interface operable to provide   visual user-interface for user payment interactions and a user input device coupled to the processor.
 a visual user-interface for
 user payment interactions;
 and

 20[g]: a user-input device
 coupled to the processor, and




                                                                                                                           [. . .]



                                 See, e.g., iPad, Apple, https://www.apple.com/ipad/.
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 Claim No.                    Apple Pay and/or Apple Wallet-Enabled Computing Device with Apple Card




                              See, e.g., Compare iPhone Models, Apple, https://www.apple.com/iphone/compare/.




                                                                                                                       [. . .]



                              See, e.g., Watch, Apple, https://www.apple.com/watch/.
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 Claim No.                    Apple Pay and/or Apple Wallet-Enabled Computing Device with Apple Card
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 Claim No.                         Apple Pay and/or Apple Wallet-Enabled Computing Device with Apple Card




                                   See, e.g., Make purchases using Apple Pay, Apple (Sept. 24, 2024), https://support.apple.com/en-us/102626.
 20[h]: wherein the memory is      An Apple Pay and/or Apple Wallet-enabled computing device includes a memory that is operable to store a transaction
 operable to store a transaction   sequence count, a static device account number and secrets limited to the computing device.
 sequence count, a static
 device account number and
 secrets limited to the                                                                                                     [. . .]
 computing device;




                                   See, e.g., Apple Pay security and privacy overview, Apple (Oct. 8, 2024), https://support.apple.com/en-us/101554.
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 Claim No.                    Apple Pay and/or Apple Wallet-Enabled Computing Device with Apple Card




                              See, e.g., Apple Platform Security, Payment authorization with Apple Pay, Apple (Feb. 18, 2021), https://support.apple.com/
                              guide/security/payment-authorization-with-apple-pay-secc1f57e189/web.




                              See, e.g., Use Advanced Fraud Protection with Apple Card, Apple (Jan. 10, 2024), https://support.apple.com/en-us/102427.
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                              See, e.g., How to find the serial number or IMEI for your Apple Watch, Apple (Oct. 23, 2024), https://support.apple.com/en-
                              us/108040.




                              See, e.g., Find the serial number or IMEI on your iPhone, iPad, or iPod touch, Apple (Dec. 6, 2023), https://support.apple.com/
                              en-us/108037.
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 Claim No.                        Apple Pay and/or Apple Wallet-Enabled Computing Device with Apple Card




                                  See, e.g., Prashant Ram, How Apple Pay works under the hood?, codeburst (Nov. 5, 2019), https://codeburst.io/how-does-apple-
                                  pay-actually-work-f52f7d9348b7.
 20[i]: wherein the computing     An Apple Pay and/or Apple Wallet-enabled computing device is operable to receive, store, display and transmit issuer-provided
 device is operable to receive,   payment information, associated with, but not depicted on, the payment card device
 store, display and transmit
 issuer-provided payment
 information, associated with,
 but not depicted on, the
 payment card device;




                                  See, e.g., How to find the card numbers associated with your Apple Card, Apple (Mar. 4, 2024), https://support.apple.com/en-
                                  us/118544; Apple Pay security and privacy overview, Apple (Oct. 8, 2024), https://support.apple.com/en-us/101554.
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 Claim No.                    Apple Pay and/or Apple Wallet-Enabled Computing Device with Apple Card

                                                                                                                       [. . .]




                              See, e.g., Apple Pay security and privacy overview, Apple (Oct. 8, 2024), https://support.apple.com/en-us/101554.
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 Claim No.                    Apple Pay and/or Apple Wallet-Enabled Computing Device with Apple Card




                              See, e.g., Lance Whitney, How to use your Apple Card without Apple Pay, TechRepublic (Oct. 1, 2019),
                              https://www.techrepublic.com/article/how-to-use-your-apple-card-without-apple-pay/.
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 Claim No.                    Apple Pay and/or Apple Wallet-Enabled Computing Device with Apple Card




                              See, e.g., Prashant Ram, How Apple Pay works under the hood?, codeburst (Nov. 5, 2019), https://codeburst.io/how-does-apple-
                              pay-actually-work-f52f7d9348b7.
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 Claim No.                          Apple Pay and/or Apple Wallet-Enabled Computing Device with Apple Card
 20[j]: wherein the processor       The processor of the Apple Pay and/or Apple Wallet-enabled computing device is operable to dynamically generate at least a
 is operable to dynamically         portion of a limited-use payment information for use by an authenticated card user, and to combine said limited-use payment
 generate at least a portion of a   information with at least said static device account number to create combined payment information.
 limited-use payment
 information for use by an
 authenticated card user, and                                                                                               [. . .]
 to combine said limited-use
 payment information with at
 least said static device
 account number to create
 combined payment
 information;
                                                                                                                            [. . .]




                                    See, e.g., Apple Pay security and privacy overview, Apple (Oct. 8, 2024), https://support.apple.com/en-us/101554; Apple
                                    Platform Security, Payment authorization with Apple Pay, Apple (Feb. 18, 2021), https://support.apple.com/guide/security/
                                    payment-authorization-with-apple-pay-secc1f57e189/web.




                                    See, e.g., Use Advanced Fraud Protection with Apple Card, Apple (Jan. 10, 2024), https://support.apple.com/en-us/102427.
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 Claim No.                      Apple Pay and/or Apple Wallet-Enabled Computing Device with Apple Card




                                See, e.g., Prashant Ram, How Apple Pay works under the hood?, codeburst (Nov. 5, 2019), https://codeburst.io/how-does-apple-
                                pay-actually-work-f52f7d9348b7.
 20[k]: wherein the computing   An Apple Pay and/or Apple Wallet-enabled computing device is operable to convey said combined payment information via an
 device is operable to convey   interface disposed of the computing device (e.g., Wi-Fi or NFC).
 said combined payment
 information via an interface
 disposed of the computing
 device; and
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 Claim No.                        Apple Pay and/or Apple Wallet-Enabled Computing Device with Apple Card




                                  See, e.g., Apple Pay security and privacy overview, Apple (Oct. 8, 2024), https://support.apple.com/en-us/101554.
 20[l]: wherein the computing     An Apple Pay and/or Apple Wallet-enabled device is operable to receive information, from an issuer, in response to the
 device is operable to receive    conveyed combined payment information, indicating that a payment transaction is valid.
 information, from an issuer,
 in response to the conveyed
 combined payment
 information, indicating that a
 payment transaction is valid.
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                              See, e.g., Make purchases using Apple Pay, Apple (Sept. 24, 2024), https://support.apple.com/en-us/102626.
